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United States District Court
Southern District of Florida

MIAMI DIVISION
UNITED STATES OF AMERICA JUDGMENT IN .4 CRIMINAL CASE
Vv. Case Number - |:09-20264-CR-KING-003

NIKO THOMPSON
USM Number: 81979-004

Counsel For Defendant: John E. Bergendahl, Esq.
Counsel For The United States: Russell Koonin and Robert Luck
Court Reporter: Patricia Sanders

 

The defendant was found guilty on Counts Two and Eighteen of the Superseding In«lictment.
The defendant is adjudicated guilty of the following offenses:

 

TITLE/SECTION NATURE OF
NUMBER OFFENSE OFFENSE ENDED COUNT
21 U.S.C. § 846 Conspiracy to possess with January 8, 2009 2

intent to distribute 500
grams or more of cocaine

18 U.S.C. §§ 922(g)(1) and —_— Felon in possession of a April 6, 2009 18
924(e) firearm

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States attorney of any material changes in economic
circumstances.

Date of Irnposition of Sentence:
7/21/2010

   
  

rt At
AMES LAWRENCE KING !
United States District Judge

 

July 22, 20:0
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DEFENDANT: NIKO THOMPSON
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IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term
of ONE HUNDRED TWENTY (120) Months as to count 2 to be served as follows: FIVE (5) Years consecutive to count
18 and FIVE (5) Years to be served concurrent with count Eighteen; and ONE HUNDRED EIGHTY (180) Months as to
count Eighteen. (Total sentence is 20 years) .

The Court makes the following recommendations to the Bureau of Prisons:

That the defendant be designated to a South Florida facility. Additionally, that the defendant enroll and
complete the 500 Hours Alcohol/Drug Treatment Program administered ly the Bureau of Prisons.

The defendant is remanded to the custody of the United States Marshal.

 

 

 

 

 

RETURN
] have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.

 

 

UNITED STATES MARSHAL

 

Deputy U.S. Marshal
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DEFENDANT: NIKO THOMPSON
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SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a “erm of EIGHT (8) Years as to counts Two
and Eighteen, to run concurrent.,

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defenden! shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court.
The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
The defendant shall cooperate in the collection of DNA as directed by the probation officer.
If this judgment imposes a fine or a restitution, it is a condition of supervised release that the defendant pay in accordance

with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been alapted by this court as weil as any additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

l. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
month;

3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4. The defendant shall support his or her dependents and meet other family responsibilities;

5. The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
reasons;

6. The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;

7. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8. The defendant shall not frequent places where controlled substances are illegally solc, t.sed, distributed, or administered;

9. The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted ofa felony.
unless granted permission to do so by the probation officer;

10. The defendant shall permit a probation officer to visit him or her at any time at hore or elsewhere and shall permit confiscation of any
contraband observed in plain view by the probation officer;

11. The defendant shall notify the probation officer within seventy-two (72) hours of bein, arrested or questioned by a law enforcement officer;

12, The defendant shall not enter into any agreement to act as an informer or a special agen: ol'a law enforcement agency without the permission
of the court; and

13. As directed by the probation officer, the defendant shall notify third parties of risks that muy be occasioned by the defendant’s criminal record

or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s
compliance with such notification requirement.
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SPECIAL CONDITIONS OF SUPERVISION

The defendant shall also comply with the following additional conditions ol supervised release:

Employment Requirement - The defendant shall maintain full-time, legitimate emp!oyment and not be unemployed for a term
of more than 30 days unless excused for schooling, training or other acceptable reasons. Further, the defendant shall provide
documentation including, but not limited to pay stubs, contractual agreements, W-2 Wage and Earnings Statements, and other
documentation requested by the U.S. Probation Officer.

Financial Disclosure Requirement - The defendant shall provide complete access «o financial information, including disclosure
of all business and personal finances, to the U.S. Probation Officer.

Self-Employment Restriction - The defendant shall obtain prior written approval from the Court before entering into any self-
employment.

Substance Abuse Treatment - The defendant shall participate in an approved treatment program for drug and/or alcohol abuse
and abide by all supplemental conditions of treatment. Participation may include inpatient/outpatient treatment. The defendant
will contribute to the costs of services rendered (co-payment) based on ability to pay or availability of third party payment.
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CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on the Schedule of
Payments sheet.

Total Assessment Total Fine Total Restitution

$200.00

*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Tith: 18, United States Code, for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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DEFENDANT: NIKO THOMPSON
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SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal moneta:y penalties are due as follows:

A. Lump sum payment of $200.00 due immediately, balance due

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties
is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
The assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:
U.S. CLERK’S OFFICE
ATTN: FINANCIAL SECTION
400 NORTH MIAMI AVENUE, ROOM 8N09
MIAMI, FLORIDA 33128-7716

The assessment is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and the U.S. Attorney’s Office
are responsible for the enforcement of this order.

The defendant shall forfeit the defendant’s interest in the following property to the United States:

1) One Beretta, Model 96, .4 caliber semi-automatic pistol, Serial Number BER373150;
and 2) Assorted ammunition

The defendant’s right, title and interest to the property identified in the preliminary order of forfeiture, which has been
entered by the Court and is incorporated by reference herein, is hereby forfeited.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
